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             APPEARANCE SHEET FOR HEARING BEFORE
                         JUDGE ISGUR
                    Tuesday, August 4, 2020
First Name    Last Name               Firm Name                         Client Name

Serajul       Ali                     U.S. DOJ                          U.S. Dept. of the Interior
Matt          Barr                    Weil                              Debtors
Charles       Beckham, Jr.            Haynes and Boone, LLP             Ad Hoc Group of Secured Lenders
                                                                        Cantor Fitzgerald Securities, the FLTL Administrative
Charles       Beckham, Jr.            Haynes and Boone, LLP             Agent
Cliff         Carlson                 Weil                              Debtors

Jeff          Carruth                 Weycer Kaplan Pulaski Zuber P.C. Halliburton Energy Services, Inc.
                                                                       Cantor Fitzgerald Securities, the FLTL Administrative
Kimberly      Cohen                   Shipman & Goodwin LLP            Agent
Hector        Duran                   U.S. Department of Justice       U.S. Trustee
Philip        Eisenberg               Locke Lord LLP                   US Specialty Insurance Company
Moshe         Fink                    Weil                             Debtors
Moshe         Fink                    Weil, Gotshal & Manges           Fieldwood Energy - Debtors
Bradley       Foxman                  Vinson & Elkins LLP              Goldman Sachs Bank USA
Jason         George                  Weil                             Debtors
Ken           Green                   Snow Spence Green LLP            SBM Gulf Production LLC
                                                                       Baker Hughes Oilfield Operations LLC; Schlumberger
Blake         Hamm                    Snow Spence Green LLP            Technology Corporation
Benjamin      Kadden                  Lugenbuhl                        Dynamic Industries, Inc. and LQT Industries, LLC
                                                                       Cantor Fitzgerald Securities, the FLTL Administrative
Kathleen      Lamanna                 Shipman & Goodwin LLP            Agent
Courtney      Lankford                EnVen                            N/a
Jessica       Liou                    Weil                             Debtors
Zachary       McKay                   Dore Rothberg McKay, P.C.        TETRA Applied Technologies, Inc.
Michael       Pera                    Davis Polk & Wardwell LLP        Ad Hoc Group of Secured Lenders
Alfredo       Perez                   Weil                             Debtors
Robin         Russell                 Hunton Andrews Kurth LLP         Apache Corporation
Damian        Schaible                Davis Polk & Wardwell LLP        Ad Hoc Group of Secured Lenders
Elliot        Scharfenberg            Krebs Farley & Dry               RLI Insurance Company
Stephen       Statham                 Department of Justice            United States Trustee
Joshua        Sturm                   Davis Polk & Wardwell LLP        Ad Hoc Group of Secured Lenders
Natasha       Tsiouris                Davis Polk & Wardwell LLP        Ad Hoc Group of Secured Lenders
William       Wallander               Vinson & Elkins LLP              Goldman Sachs Bank USA
Bill          Wallander               Vinson Elkins                    Goldman
Martha        Wyrick                  Haynes and Boone, LLP            Ad Hoc Group of Secured Lenders
                                                                       Cantor Fitzgerald Securities, the FLTL Administrative
Martha        Wyrick                  Haynes and Boone, LLP            Agent
